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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






RUDOLFO GARCIA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On appeal from the 36th District Court 


of San Patricio County, Texas.






MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam


	Appellant, Rudolfo Garcia, attempts to appeal a conviction for driving while
intoxicated.  The trial court has certified that "defendant was continued on community
supervision, and the defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On June 8, 2009, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On August 28, 2009, counsel filed a letter brief with this Court.  Counsel's response
does not establish:  (1) that the certification currently on file with this Court is incorrect, or
(2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.


									PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this 10th day of September, 2009. 





	


